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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

SMALL BUSINESS LOAN SOURCE, LLC, )
                                   )
      Plaintiff,                   )
                                   )
v.                                 )                           CIVIL ACTION NO. 05-0614-WS-C
                                   )
F/V CAPTAIN RICHARD, etc., et al., )
                                   )
      Defendants.                  )

                                                 ORDER
        The defendants have filed a motion to dismiss. (Doc. 12). Because the motion is
unaccompanied by a brief as required by Local Rule 7.1(a), the motion is denied, without prejudice to
the defendants’ ability to file a motion in compliance with court rules.


    DONE and ORDERED this 21st day of November, 2005.


                                                          s/ WILLIAM H. STEELE
                                                          UNITED STATES DISTRICT JUDGE
